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           The parties understand that nothing in this Agr~ment is binding on any

  governmental agency other than the United States Department of Labor.

                                              XX.
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           Each party hereby agrees to bear its own fees and other expenses incurred in

  connection with any stage of this proceeding.



   Stipulated and agreed to by th~ tmdersigned this 15th :day of January 2016.

  Nova Mud, lnc., Nova Sand. LLC,
  and Nova Hardbanding. LLC
  dba: Nova Mud, Nova Fraesand,
                                                          ~
  Nova Hardband.ing

   ayL~
   Kenneth Bro.n~--
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                                                           G~~Director


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        Gerald Bromley, CFO




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